            Case 3:17-bk-02469-PMG           Doc 23     Filed 10/03/17      Page 1 of 1


                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                              JACKSONVILLE DIVISION

In Re:

NATASHIA T. SWINDLER                                          CHAPTER 7
                                                              CASE NO.: 3:17-bk-02469-PMG
         Debtor.
                                       /

                                       NOTICE OF APPEARANCE

         COMES NOW, Angelo Castaldi of Tripp Scott, P.A., and hereby files his Notice of
Appearance as counsel of record for the Creditor, VT Inc. as Trustee of World Omni LT, in the
above-styled case, and requests that the firm be provided copies of all pleadings filed herein and any
notice of the matters arising in this action may be duly served on the undersigned at the following
address:

                                                      TRIPP SCOTT, P.A.
                                                      Counsel for Creditor
                                                      110 SE 6th Street, 15th Floor
                                                      Fort Lauderdale, FL 33301
                                                      Angelo Castaldi, Esquire
                                                      bankruptcy@trippscott.com
                                                      Tel: 954-525-7500

                                                      /s/ Angelo Castaldi, Esquire
                                                      Angelo Castaldi, Esquire
                                                      FBN: 0119098
                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY THAT a true and correct copy of the Notice of Appearance was
provided by U.S. 1st Class or electronic mail to Natashia T. Swindler, 10846 Naples Ct. S.,
Jacksonville, FL 32218; Gordon P. Jones, P.O. Box 600459, Jacksonville, FL 32260; United States
Trustee - JAX 13/7, Office of the United States Trustee, George C. Young Federal Building, 400
West Washington Street, Suite 1100, Orlando, FL 32801, on this 3rd day of October, 2017.

                                                      /s/ Angelo Castaldi, Esquire
                                                      Angelo Castaldi, Esquire
